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                                        UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF OKLAHOMA

United States of America,
                                                            Plaintiff,
vs.                                                                              Case No.: 24-cr-057-GKF

Morgan Cole Womack                                                               SCHEDULING ORDER
                                                         Defendant.

At the direction of Gregory K. Frizzell, U.S. District Judge, it is hereby ordered that:
       Notices due:                                                                              3/8/2024
         Including all notices required by FRCrP and FRE, including Rule 16, 404(b), 412, 413, 414 or 609

       Motions and Objections to Notices due:                                                    3/20/2024
       Absent good cause, motions in limine shall be filed by this date. Motions for bill of particulars shall be
      .filed pursuant to FRCrP 7(f)

       Pretrial Conferences/Motions Hearing:                                                     4/3/2024              at 9:30 a.m.
       Voir dire, jury instructions, stipulations and trial briefs due:                          4/8/2024
      Witness and exhibit lists exchanged between counsel and                                    4/11/2024              by 4:00 p.m.
      emailed to courtroom deputy (do not file):
      Counsel shall refer to all witnesses by their full names, rather then initials. In cases
      involving minors, the parties shall submit two (2) copies of the lists. The first shall
      use the minors’ full names. The second shall use the minors’ initials.


       Three hard-copy exhibit binders delivered to Court:                                       4/11/2024             by 4:00 p.m.
       Jury Trial:                                                                               4/15/2024              at 9:30 a.m.
Pursuant to LCrR 47-2, any response shall be filed within seven days of any motion’s filing. Replies
are not permitted without leave of Court. If leave is granted, replies shall be limited to five pages.

The parties should meet and confer in good faith to discuss any stipulations that would streamline the
issues at trial. Any stipulations agreed to should be submitted by the date listed.

If the parties anticipate a lengthy pretrial/motion hearing, they are directed to promptly contact the
Courtroom Deputy and the hearing will be reset.

                                                                         Mark C. McCartt, Clerk of Court


                                                                        /s/ K. Perkins
                                                                       By: K. Perkins, Deputy Clerk




Scheduling Order                                                                                                    (CR-04-GKF 11/2022)
